          Case 2:17-cv-08699-JTM-JVM Document 20-1 Filed 02/16/18 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF LOUISIANA
                                          OFFICE OF THE CLERK




WILLIAM W. BLEVINS                                                               500 POYDRAS ST., ROOM C-151
CLERK                                                                            NEW ORLEANS, LA 70130



                                              February 16, 2018



  Clerk
  Civil District Court
  Parish of Orleans
  421 Loyola Ave., Room 402
  New Orleans, LA 70112-1198

                                                          RE: Roderick Hickman
                                                                   v.
                                                            Great West Casualty Company et al
                                                               Civil Action No. 17-8699 "H"(1)
                                                               Your No. 17-07754 G(11)

  Dear Sir:

         I am enclosing herewith a certified copy of an order entered by this court on February 16, 2018
  remanding the above-entitled case to your court.


                                                          Very truly yours,

                                                          WILLIAM W. BLEVINS, CLERK


                                                          By:
                                                                  Deputy Clerk


  Enclosure
